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May 22, 2018

By ECF

The Honorable Paul G. Gardephe
United States District Judge
United States District Court
Southern District of New York
40 Foley Square, Room 2204
New York, NY 10007


               Re: In re Treasury Securities Antitrust Litig., No. 15-MD-2673 (PGG)

Dear Judge Gardephe:

                The undersigned, counsel for Credit Suisse Securities (USA) LLC,
Goldman Sachs & Co. LLC, and Morgan Stanley & Co. LLC, serve as liaison counsel for
all defendants named in the above-referenced litigation. By this letter and pursuant to Your
Honor’ s Individual Rules of Practice I.A and IV.D, the defendants in the above-captioned
action respectfully request oral argument on their Joint Motion to Dismiss the Auction
Conspiracy Claims (ECF No. 270) and Joint Motion to Dismiss the Boycott Conspiracy
Claims (ECF No. 274), filed in this Court on Tuesday, May 22, 2018.

                                 Respectfully submitted,

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WHARTON &                     REINDEL LLP
GARRISON LLP

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                             Liaison Counsel for Defendants
cc:     All Counsel of Record (by ECF)
